 

Case 3:08-mj-00683-CAB Document 8 Filed 04/08/2008 Page 1 0f1

UNITED STATES DISTRIC\T&.EOURT
Southern District Of Callfornia

 

  

 

 

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March 25, 2008

Clerk, U.S. District Court

Eastern District of Virginia
193 Walter E. Hoffman, _
United States Courthouse, ` ` ' _.. ~._:-,~".: ,' »'~_,""'*"1
600 Granby Street "' `
Norfolk, VA 23510-1915

 

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Enclosed please find copies of the following documents in connection with removal
proceedings conducted in this District regarding the above named defendant

Dear Clerk of the Court:

 

 

 

 

 

x Docket Sheet x ' Warrantof Removal
x Complaint Order of Removal
_ Minute Order Appointing Counsel x Detention Order
Corporate Surety Bond x Waiver of Removal

 

Personal Surety Bond

 

11 Other ` Removal/ID Hearing Minutes

 

Please acknowledge receipt of the above documents on the enclosed copy of this letter.
Sincerely yours,

W. Samuel Harnrick, Jr.
Clerk of Court

By: s/ J. Jocson'
Jenelynn Jocson, Deputy Clerk

 

